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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §    CAUSE NO. EP-23-CR-1925(1)-KC
                                                 §
 (1) EMMANUEL GONZALEZ                           §
 MIRANDA                                         §

                                             ORDER

       On this day, the Court considered Defendant’s Motion to Dismiss Indictment (“Motion”),

ECF No. 24. Defendant argues that the sole statute under which he has been indicted, 18 U.S.C.

§ 922(g)(5)(A), is facially unconstitutional. Mot. 1. Defendant relies largely on this Court’s

Order in a different case, in which the Court held § 922(g)(5)(A) to be facially unconstitutional.

Id. at 3–4 (citing United States v. Sing-Ledezma, --- F. Supp. 3d ----, 2023 WL 8587869 (W.D.

Tex. Dec. 11, 2023)).

       The Government filed a Response, ECF No. 30, in opposition. For the most part, the

Government advances the same arguments that the Court considered in Sing-Ledezma. See

Resp. 3–12. For the reasons discussed at length in that decision, these arguments are unavailing

under New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022), and subsequent decisions

from the Fifth Circuit. Sing-Ledezma, 2023 WL 8587869, at *18 (“‘Engag[ing] carefully with

the historical sources and the strictures of Bruen,’ Daniels, and Rahimi leads inexorably to a

finding that the Government has not met its burden of proving a historical tradition sufficiently

analogous to justify disarming all unlawfully present aliens.” (quoting United States v. Daniels,

77 F.4th 337, 355 n.44 (5th Cir. 2023))); id. (“By all indications, § 922(g)(5)(A) ‘is an “outlier

that our ancestors would never have accepted,”’ rendering it facially unconstitutional.” (quoting

United States v. Rahimi, 61 F.4th 443, 461 (5th Cir. 2023))).
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       In addition to the arguments rejected in Sing-Ledezma, the Government broadly asserts

that the Court’s review of § 922(g)(5)(A) should be conducted with “significant deference”

because it entails “matters relating to citizenship and immigration,” which are “‘committed to the

political branches’ of government.” Resp. 13 (quoting Mathews v. Diaz, 426 U.S. 67, 81

(1976)). But even the cases on which the Government relies provide for “narrow judicial

review” to ensure that immigration laws comport with the United States Constitution. See, e.g.,

Hampton v. Mow Sun Wong, 426 U.S. 88, 101 n.21, 116–17 (1976) (striking down Civil Service

Commission regulation barring resident aliens from certain employment as violative of due

process). Thus, generalized principles of deference to the political branches on immigration

matters do not provide a basis on which to forgo a determination of whether § 922(g)(5)(A)

violates the Second Amendment.

       Finally, the Government attaches documents from the law enforcement investigation that

led to Defendant’s arrest, which show that Defendant may have been involved in narcotics

smuggling. See generally Search Warrant, ECF No. 30-1. While concerning, this evidence has

no bearing on the constitutionality of § 922(g)(5)(A), which criminalizes gun possession on the

basis of one’s status as an unlawful alien, irrespective of their involvement in any other illicit

activity. Certainly, there are laws that impose penalties for the possession of firearms by drug

users, 18 U.S.C. § 922(g)(3), and the use of firearms in furtherance of drug trafficking crimes, 18

U.S.C. § 924(c)(1)(A). But Defendant is charged with nothing other than a violation of

§ 922(g)(5)(A). Indictment 1, ECF No. 11.

       Accordingly, the Motion is GRANTED. The Court ORDERS that the offense charged

in Count One of the Indictment is DISMISSED.



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SO ORDERED.

SIGNED this 17th day of February, 2024.




                          KATHLEEN CARDONE
                          UNITED STATES DISTRICT JUDGE




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